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   8
                                     UNITED STATES DISTRICT COURT
   9
                                  SOUTHERN DISTRICT OF CALIFORNIA
  10
       MATTHEW JONES, et al.,              ) Case No.: 3:19-cv-01226-L-AHG
  11                                       ) Hon. M. James Lorenz and Magistrate Judge
                     Plaintiffs,
  12                                       ) Allison H. Goddard
       v.                                  )
  13
       ROB BONTA, in his official          ) DECLARATION OF ANDREW MORRIS IN
                                             SUPPORT OF PLAINTIFFS’ NOTICE OF
  14   capacity as Attorney General of the )
       State of California, et al.,1       ) MOTION AND MOTION FOR
  15                                       ) PRELIMINARY INJUNCTION; OR IN THE
  16   Defendants.                         ) ALTERNATIVE, MOTION FOR SUMMARY
                                           ) JUDGMENT
  17                                       ) Date: February 13, 2023
  18                                       ) Time: 10:30 a.m.
                                           ) Place: Courtroom 5B (Fifth Floor)
  19                                       )
  20                                       ) Second Amended Complaint Filed: Nov. 8,
       ____________________________ ) 2019
  21
  22                                                        No oral argument will be heard pursuant to local
                                                            rules unless ordered by the Court
  23
  24
  25
       1
  26      Rob Bonta is automatically substituted for his predecessor, Xavier Becerra, as
       California Attorney General, and Allison Mendoza is automatically substituted for her
  27
       predecessors, former Directors Louis Lopez and Martin Horan, and former Acting
  28   Directors Brent E. Orick and Blake Graham. Fed. R. Civ. P. 25(d).

           Declaration of Andrew Morris in Support of Plaintiffs’ notice of motion and motion for Preliminary Injunction; or in
                                                                                The Alternative Motion For Summary Judgment
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   1                             DECLARATION OF ANDREW MORRIS
   2   I, Andrew Morris, declare as follows:
   3          1.       I am over the age of 18. Currently, I am not a party to this action. I make
   4   this declaration based on my own personal knowledge and, if called upon to testify as
   5   a witness in this case, I could and would testify competently and truthfully to the facts
   6   stated herein.
   7          2.       I am a 19-year-old resident of Poway, California. I do not have any
   8   criminal history, nor am I a member of the armed services or law enforcement.
   9          3.       I do not have a California hunter’s license issued by the California
  10   Department of Fish and Wildlife. I have no interest in obtaining a firearm for hunting
  11   purposes.
  12          4.       I am currently a member of the organizational plaintiffs involved in this
  13   case. Specifically, I am a member of the Firearms Policy Coalition, Second
  14   Amendment Foundation, and the California Gun Rights Foundation.
  15          5.       I do not currently own any firearms but wish to purchase at least one,
  16   such as a shotgun or rifle (including a centerfire semiautomatic rifle) for self-defense
  17   and other lawful purposes.
  18          6.       Except for the California law (Penal Code § 27510) banning my right to
  19   acquire or purchase any firearm due solely to my age, and my reasonable fear of
  20   criminal prosecution for violating that law, I would immediately purchase, acquire,
  21   and/or possess various forms of long guns within California for self-defense and other
  22   lawful purposes.
  23          7.       Further, but for the California Age-Based Gun Ban and Defendants’

  24   policies, practices, customs, and enforcement of said law, I would be eligible to

  25   purchase and possess firearms for lawful purposes, including self-defense.

  26          8.       In approximately 2022, I began an inquiry to purchase a long gun for

  27   self-defense and other lawful purposes. I visited the online sales sites of several

  28   licensed firearms dealers in San Diego County. On information and belief, these

         Declaration of Andrew Morris in Support of Plaintiffs’ notice of motion and motion for Preliminary Injunction; or in
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   1   dealers were duly licensed within the meaning of Penal Code sections 26700 to
   2   26915, inclusive.
   3          9.       After selecting the type of firearm I was interested in purchasing, I
   4   discovered that there was an age restriction prohibiting individuals ages 18 to 20 from
   5   purchasing firearms in California. As such, I would not be able to purchase or transfer
   6   any type of firearm. Because the licensed dealers were prohibited from transferring
   7   me a firearm of any kind under Penal Code section 27510, I was denied the ability to
   8   exercise my Second Amendment rights, including the “right to use arms in self-
   9   defense of hearth and home.” Heller, 554 U.S. at 635. This unlawful prohibition and
  10   infringement on my Second Amendment rights will continue until I am 21 years old.
  11          10.      I was not seeking to purchase a firearm in order to hunt and I have no
  12   interest in using my firearm(s) for hunting. I do not possess a valid, unexpired hunting
  13   license issued by the California Department of Fish and Wildlife. Thus, the extremely
  14   limited exemption under Penal Code section 27510(b)(1) is inapplicable to me.
  15          11.      I am not an active or retired peace officer or federal officer. I also am not
  16   a current or retired member of the armed forces. I do not intend to enter into a highly
  17   dangerous career in law enforcement or the military and will not be forced to do so in

  18   order to exercise my Second Amendment rights. Thus, the illusory exceptions under

  19   Penal Code section 27510(b)(1)-(3) are inapplicable to me.

  20

  21          I declare under penalty of perjury, under the laws of the United States, that the

  22   foregoing is true and correct and this declaration was executed on January 16, 2023 in

  23   San Diego, California.

  24                                                                        By: _________________
                                                                                  Andrew Morris
  25

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         Declaration of Andrew Morris in Support of Plaintiffs’ notice of motion and motion for Preliminary Injunction; or in
                                                                              The Alternative Motion For Summary Judgment
